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7
8                      IN THE UNITED STATES DISTRICT COURT
9                     FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,     )           CR. No. S 07-571 GEB
                                   )
12                  Plaintiff,     )           STIPULATION AND ORDER
                                   )
13             v.                  )
                                   )
14   ERIC BROOKS,                  )
                                   )           Date: October 5, 2012
15                  Defendant.     )           Time: 9:00 a.m.
     ______________________________)           Hon. Garland E. Burrell, Jr.
16
17
          It is hereby stipulated by and between the United States of
18
     America through its attorneys, and defendant Eric Brooks and his
19
     attorney, that the status conference hearing set for August 10,
20
     2012, be vacated, and a status conference hearing be set for October
21
     5, 2012 at 9:00 a.m.
22
          Mr. Brooks is also a defendant in case no. CR S 08-122 GEB.          He
23
     has entered a guilty plea in that case and the parties are
24
     requesting that sentencing be set for October 5, 2012.          Pursuant to
25
     the plea agreement entered in case 08-0122 GEB, the government
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     anticipates dismissing the charges against Mr. Brooks in case 07-571
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     at sentencing.   However, that cannot occur until Mr. Brooks has
28
     finished completing his obligations under the plea agreement.          The

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1    parties stipulate that the ends of justice are served by the Court
2    excluding the time between August 10, 2012, and October 5, 2012, so
3    that the defendant may continue to fulfill his obligations under the
4    plea agreement in case 08-0122, which will likely result in the
5    dismissal of the pending charges in this case.            18 U.S.C.
6    §3161(h)(1) (other proceedings concerning the defendant) / Local
7    Code C (other charges pending).
8
     DATED: August 2, 2012                 /s/ Philip Ferrari for
9                                         MICHAEL HANSEN, ESQ.
                                          Attny. for Eric Brooks
10
11   DATED: August 2, 2012                BENJAMIN WAGNER
                                          United States Attorney
12
13                                   By: /s/ Philip Ferrari
14                                       PHILIP A. FERRARI
                                         Assistant U.S. Attorney
15
16        IT IS ORDERED that the status conference currently set for

17   August 10, 2012, is vacated, and a new status conference is set for

18   October 5, 2012, at 9:00 a.m.         For the reasons stipulated to by the
19   parties, good cause exists pursuant to 18 U.S.C. §§ 3161(h), and
20   time is excluded under the Speedy Trial Act through October 5, 2012.
21   For the reasons set forth in the stipulation, the interests of
22   justice served by granting this continuance outweigh the best
23   interests of the public and the defendants in a speedy trial.
24
          IT IS SO ORDERED.
25
     Dated:     August 3, 2012
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                                        GARLAND E. BURRELL, JR.
28                                      Senior United States District Judge


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